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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )          8:07CR346
                       Plaintiff,                  )
                                                   )
      vs.                                          )           ORDER
                                                   )
RACHEL LENAGH,                                     )
                                                   )
                       Defendant.                  )


      This matter is before the Court on the motion of defendant Rachel Lenagh (Lenagh)
for a continuance of trial (Filing No. 17). The motion does not comply with NECrimR 12.1
(a) and paragraph 10 of the Progression Order (Filing No. 12) in that the motion is not
accompanied by the defendant’s affidavit or declaration stating that defendant:
      (1)    Has been advised by counsel of the reasons for seeking a continuance;
      (2)    Understands that the time sought by the extension may be excluded from any
             calculation of time under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.; and
      (3)    With this understanding and knowledge, agrees to the filing of the motion.

      Accordingly, the motion (Filing No. 17) is :
             (X)       Held in abeyance pending compliance with NECrimR 12.1(a) and
                       Paragraph 10 of the Progression Order. Absent compliance on or
                       before December 26, 2007, the motion will be deemed withdrawn
                       and termed on the docket.
             (     )   Denied.


      IT IS SO ORDERED.


      DATED this 17th day of December, 2007.
                                                   BY THE COURT:
                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
